         Case 16-66974-sms              Doc 23        Filed 12/05/16 Entered 12/05/16 13:42:31                         Desc Main
                                                      Document     Page 1 of 5


                                                United States Bankruptcy Court
                                                      Northern District of Georgia
         Adam Hamilton Long

 In re                                                                                             Case No.    16-66974

                                                                      Debtor(s)                    Chapter      13

                                                     CHAPTER 13 PLAN

Extension                                                                              Composition

         You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the
Bankruptcy Court may modify your rights by providing for payment of less than the full amount of your claim,
by setting the value of the collateral securing your claim, and/or by setting the interest rate on your claim.

Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or
such portion of future earnings or other future income of Debtor as is necessary for the execution of this Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $375.00 Monthly to Trustee by                     Payroll
Deduction(s) or by      Direct Payment(s) for the applicable commitment period of 60 months, unless all allowed claims
in every class, other than long-term claims, are paid in full in a shorter period of time. The term of this Plan shall not exceed
sixty (60) months. See 11 U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each pre-confirmation plan payment shall be reduced
by any pre-confirmation adequate protection payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).

         The following alternative provision will apply if selected:

             IF CHECKED, Plan payments will increase by $         in month        upon completion or termination of    .

3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief. An
allowed proof of claim will be controlling, unless the Court orders otherwise. Objections to claims may be filed before or
after confirmation.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as
set forth below, unless the holder of such claim or expense has agreed to a different treatment of its claim.

         (A). Trustee's Fees. The Trustee shall receive a statutory fee in the amount established by the Attorney
General and the United States Trustee.

          (B). Debtor and Debtor’s attorney have agreed to a base attorney fee in the amount of $3,720.00 for the
services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of $0.00 was paid prior to the
filing of the case. The Trustee shall disburse the unpaid amount of the fee, $3,720.00, as allowed under General Order
18-2015, as follows: (1) Upon the first disbursement following confirmation of a Plan, the Trustee shall disburse to
Debtor’s attorney from the funds available and paid into the office of the Trustee by Debtor or on Debtor’s behalf, up to
$3,720.00 after the payment of any payments under 11 U.S.C. § 1326(a)(1)(B) or (C) and administrative fees. The
remaining balance of the fees shall be paid up to $265.00 per month until the fees are paid in full; (2) If the case is
converted prior to confirmation of the plan, Debtor directs the Trustee to pay fees to Debtor’s attorney from the funds
available of $2000.00 (amount not to exceed $2,000.00); (3) If the case is dismissed prior to confirmation of the plan,
fees for Debtor’s attorney of $2000.00 as set forth on the 2016(b) disclosure statement (amount not to exceed $2,000) are
allowed pursuant to General Order 18-2015 and shall be paid by the Trustee from the funds available without a fee
application. Debtor’s attorney may file a fee application for fees sought over $2,000.00 within 10 days of the Order of
Dismissal; (4) If the case is converted after confirmation of the plan, Debtor directs the Trustee to pay to Debtor’s
attorney from the funds available, any allowed fees which are unpaid; and (5) If the case is dismissed after confirmation
of the plan, Trustee shall pay to Debtor’s attorney from the funds available, any allowed fees which are unpaid.
        Case 16-66974-sms                Doc 23       Filed 12/05/16 Entered 12/05/16 13:42:31                          Desc Main
                                                      Document     Page 2 of 5


          Debtor and Debtor's attorney have further agreed that Debtor's attorney may be paid for "non-base" services as
they are performed at the Debtor's request on an as-needed basis. These "non-base" services, and the agreed fee for each,
are identified in Paragraph 7 of the Rule 2016(b) disclosure statement filed in this case. Upon completion of a "non-
base" service, Debtor's attorney may file an application with the Court, serving all parties in interest with notice of the
application and providing an opportunity to be heard on the matter. If the "non-base" fee is approved by the Court, then
the fee shall be added to the balance of the unpaid base fee in accordance with paragraph (B)(1) above. If the base fee
has been paid in full, then the fee shall be paid up to $350 per month, and the distribution to creditors shall be reduced,
pro rata, by that amount until the additional fee is paid in full.

5. Priority Claims.

           (A). Domestic Support Obligations.

   None. If none, skip to Plan paragraph 5(B).

                   (i). Debtor is required to pay all post-petition domestic support obligations directly to the holder of the
                   claim.

                   (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11
                   U.S.C. §§ 101(14A) and 1302(b)(6).

                      Olivia Chelko Long
                      518 E. Church Street
                      Monroe GA 30655

                   (iii). Anticipated Domestic Support Obligation Arrearage Claims

                      (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be
                      paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims
                      secured by personal property, arrearage claims secured by real property, and arrearage claims for
                      assumed leases or executory contracts.

                          None; or

(a)                                                                                        (b)                                            (c)
Creditor                                                                  Estimated arrearage                    Projected monthly arrearage
(Name and Address)                                                                      claim                                       payment
Olivia Chelko Long                                                                       0.00                                           0.00


                      (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims
                      are assigned to, owed to, or recoverable by a governmental unit.

                         None; or
                        Claimant and proposed treatment:           -NONE-

        (B). Other Priority Claims (e.g., tax claims). All other allowed priority claims will be paid in full, but will not be
funded until after all secured claims, lease arrearage claims, and domestic support claims are paid in full.


(a)                                                                                                                                           (b)
Creditor                                                                                                                         Estimated claim
Georgia Department of Revenue                                                                                                               0.00
Internal Revenue Service                                                                                                                    0.00

6. Secured Claims.
       Case 16-66974-sms              Doc 23      Filed 12/05/16 Entered 12/05/16 13:42:31                         Desc Main
                                                  Document     Page 3 of 5



       (A). Claims Secured by Personal Property Which Debtor Intends to Retain.

               (i). Pre-confirmation adequate protection payments. No later than 30 days after the date of the filing of
               this plan or the order for relief, whichever is earlier, the Debtor shall make the following adequate
               protection payments to creditors pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate
               protection payments on allowed claims to the Trustee pending confirmation of the plan, the creditor
               shall have an administrative lien on such payment(s), subject to objection. If Debtor elects to make
               such adequate protection payments directly to the creditor, Debtor shall provide evidence of such
               payment to the Trustee, including the amount and date of the payment.

               Debtor shall make the following adequate protection payments:

                   directly to the creditor; or

                   to the Trustee pending confirmation of the plan.

                                                                                                                                      (c)
(a)                                           (b)                                                                    Adequate protection
Creditor                                      Collateral                                                               payment amount
United Methodist Connection CU                2014 Volkswagen Jetta                                                              125.00


               (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by
               personal property shall be paid as set forth in subparagraphs (a) and (b). If the Debtor elects to propose a
               different method of payment, such provision is set forth in subparagraph (c).

                   (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist
                   of debts secured by a purchase money security interest in a vehicle for which the debt was incurred
                   within 910 days of filing the bankruptcy petition, or, if the collateral for the debt is any other thing
                   of value, the debt was incurred within 1 year of filing. See § 1325(a)(5). After confirmation of the
                   plan, the Trustee will pay to the holder of each allowed secured claim the monthly payment in
                   column (f) based upon the amount of the claim in column (d) with interest at the rate stated in
                   column (e). Upon confirmation of the plan, the interest rate shown below or as modified will be
                   binding unless a timely written objection to confirmation is filed and sustained by the Court.
                   Payments distributed by the Trustee are subject to the availability of funds.

                      None; or

                                                                     (c)                     (d)        (e)                          (f)
(a)                     (b)                                      Purchase                 Claim      Interest                  Monthly
Creditor                Collateral                                  date                 amount        rate                    payment
United Methodist                                               2014                                Contract            $155 increasing
Connection CU           2014 Volkswagen Jetta                                  12,126.70           rate                to
                                                                                                      3.89%       $335 in February 2018

                   (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of
                   any claims secured by personal property not described in Plan paragraph 6(A)(ii)(a). After
                   confirmation of the plan, the Trustee will pay to the holder of each allowed secured claim the
                   monthly payment in column (f) based upon the replacement value as stated in column (d) or the
                   amount of the claim, whichever is less, with interest at the rate stated in column (e). The portion of
                   any allowed claim that exceeds the value indicated below will be treated as an unsecured claim.
                   Upon confirmation of the plan, the valuation and interest rate shown below or as modified will be
                   binding unless a timely written objection to confirmation is filed and sustained by the Court.
                   Payments distributed by the Trustee are subject to the availability of funds.
        Case 16-66974-sms                Doc 23      Filed 12/05/16 Entered 12/05/16 13:42:31                         Desc Main
                                                     Document     Page 4 of 5


                          None; or

                                                                          (c)                     (d)                                  (f)
(a)                         (b)                                        Purchase          Replacement       (e)                    Monthly
Creditor                    Collateral                                   date                   value Interest rate               payment
-NONE-


                      (c). Other provisions.


          (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition
mortgage payments directly to each mortgage creditor as those payments ordinarily come due. These regular monthly
mortgage payments, which may be adjusted up or down as provided for under the loan documents, are due beginning the
first due date after the case is filed and continuing each month thereafter, unless this Plan provides otherwise. Trustee may
pay each allowed arrearage claim at the monthly rate indicated below until paid in full. Trustee will pay interest on the
mortgage arrearage if the creditor requests interest, unless an objection to the claim is filed and an order is entered
disallowing the requested interest.

                                     (b)                                                               (c)                              (d)
(a)                                  Property                                      Estimated pre-petition                 Projected monthly
Creditor                             description                                               arrearage                  arrearage payment

           (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the
filing of the petition unless specified otherwise in the Plan. Any claim filed by a secured lien holder whose collateral is
surrendered will be treated as unsecured. Any involuntary repossession/foreclosure prior to confirmation of this Plan must
be obtained by a filed motion and Court order, unless the automatic stay no longer applies under § 362(c). Upon Plan
confirmation, the automatic stay will be deemed lifted for the collateral identified below for surrender and the creditor
need not file a Motion to Lift the Stay in order to repossess, foreclose upon or sell the collateral. Nothing herein is
intended to lift any applicable co-Debtor stay, or to abrogate Debtor's state law contract rights.

(a)                                                                    (b)
Creditor                                                               Collateral to be surrendered
-NONE-

7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan paragraph
10 is $ 202,144.95 . After all other classes have been paid, Trustee will pay to the creditors with allowed general
unsecured claims a pro rata share of $ 3,555.00 or 0 %, whichever is greater. Trustee is authorized to increase this
dollar amount or percentage, if necessary, in order to comply with the applicable commitment period stated in paragraph 2
of this Plan.

8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed, and
payments due after the filing of the case will be paid directly by Debtor, not through Trustee, as set forth below in column
(c).

         Debtor proposes to cure any default by paying the arrearage on the assumed leases or contracts in the amounts
projected in column (d) at the same time that payments are made to secured creditors. All other executory contracts and
unexpired leases of personal property are rejected upon conclusion of the confirmation hearing.
        Case 16-66974-sms               Doc 23        Filed 12/05/16 Entered 12/05/16 13:42:31                         Desc Main
                                                      Document     Page 5 of 5


   None; or

                (a)                                (b)                            (c)                                 (d)
              Creditor                      Nature of lease or            Payment to be paid        Projected arrearage monthly payment
                                            executory contract            directly by Debtor      through plan (for informational purposes)
-NONE-

9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or dismissal
of this case, unless the Court orders otherwise.

10. Other Provisions:

              (A). Student Loans shall be treated as a general unsecured debt.

              (B). Other allowed secured claims: A proof of claim which is filed and allowed as a secured claim, but is not
              treated specifically under the plan, shall be funded with 0 % interest as funds become available after
              satisfaction of the allowed secured claims which have been treated by the plan and prior to payment of
              allowed non-administrative priority claims (except domestic support obligation claims as set forth in
              paragraph 5(A), above) and general unsecured claims. Notwithstanding the foregoing, the Debtor or any other
              party in interest may object to the allowance of the claim.

              (C). Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f): The allowed secured claim of each
              creditor listed below shall not be funded until all allowed, secured claims which are being treated by the plan
              are satisfied. If an order is entered avoiding the creditor's lien, that creditor's claim shall be treated as a
              general, unsecured claim to the extent it is not otherwise secured by property of the estate and treated by the
              plan. To the extent that the creditor's lien is not avoided and is not otherwise treated by the plan, the secured
              claim shall be funded as set forth in the above paragraph. This paragraph shall apply to the following
              creditors:

              (D). Debtor authorizes and agrees that any post-petition domestic support obligation payments may be paid
              through a state or superior court income deduction order. Further, DCSS may utilize review and modification
              procedures of the domestic support obligation when allowed under state law, as detailed in 11 U.S.C. §
              362(b)(2).

              (E). First Tennessee National Bank shall be paid direct by the co-debtor Olivia Long.


                                                                       /s/ Adam Hamilton Long

Date November 18, 2016                                                   Signature
                                                                       Adam Hamilton Long
                                                                       Debtor(s)
Attorney /s/ Lorena L. Saedi
            Lorena L. Saedi 622072
